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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PHILLIP FLORES, et al.,                         Case No. 3:12-cv-05790-JST
                                                      Plaintiffs,
                                   8
                                                                                        CLERK'S JUDGMENT
                                                v.
                                   9
                                                                                        Re: Dkt. No. 345
                                  10    TFI INTERNATIONAL INC., et al.,
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to the Order Granting Motion for Colletive Action Settlement and Attorneys' Fees

                                  14   and Costs signed April 17, 2019, judgment is hereby.

                                  15          IT IS SO ORDERED AND ADJUDGED.

                                  16   Dated: April 17, 2019
                                                                                      Susan Y. Soong
                                  17                                                  Clerk, United States District Court
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                                                                                      By: ________________________
                                  19
                                                                                      William Noble, Deputy Clerk to the
                                  20                                                  Honorable JON S. TIGAR

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